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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:17CR207

      vs.
                                                                ORDER
CARLOS ALBERTO VALQUIER,

                    Defendant.


      This matter is before the Court on defendant Carlos Alberto Valquier’s
(“Valquier”) Motion to Proceed In Forma Pauperis (Filing No. 172) in prosecuting an
appeal of his conviction and sentence. Valquier has attached the required affidavit. See
Fed. R. App. P. 24(a)(1). Accordingly, the Motion to Proceed In Forma Pauperis is
granted.

      IT IS SO ORDERED.


      Dated this 2nd day of March, 2018.

                                                BY THE COURT:



                                                Robert F. Rossiter, Jr.
                                                United States District Judge
